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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 ROBERT G. ELLIS, II,                                   )
                                                        )
                                Plaintiff,              )
                                                        )
                           v.                           )       No. 4:18-cv-00177-TWP-DML
                                                        )
 LOUISVILLE METRO GOVERNMENT, et al.                    )
                                                        )
                                Defendants.             )

                 ORDER ADOPTING REPORT AND RECOMMENDATION

        The Magistrate Judge submitted her Report and Recommendation on Plaintiff’s Response

 to Show Cause Order (Dkt. 83). The parties were afforded due opportunity pursuant to statute and

 the rules of this Court to file objections; none were filed. The Court, having considered the

 Magistrate Judge’s Report and Recommendation, hereby adopts the Magistrate Judge’s Report and

 Recommendation.

        This matter is stayed until December 21, 2020, after which the plaintiff's counsel must

 report whether they have found Mr. Ellis and if he will prosecute his claims. If, at that time, Mr.

 Ellis is still is still missing or not desirous of prosecuting his claims, Mr. Ellis's complaint will be

 dismissed with prejudice for failure to prosecute and this case will be closed.


        IT IS SO ORDERED.

        Date:    10/21/2020
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